  AO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                        UNITED STATES DISTRICT COURT
                                                                    for the
                                                     Eastern District of North Carolina

                    United States of America                              )
                                  v.                                      )
                                                                          ) Case No:     5:06-CR-16l-2D
                    Antwan Ricardo Constant
                                                                          ) USMNo:       15976-056
Date of Previous Judgment:             October 23, 2007                   )
(Use Date of Last Amended Judgment t1 Appltcable)                         ) Defendant's Attorney   Pro Se

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.c. § 3582(c)(2)

        Upon motion of the            defendant              under 18 U.S.C. § 3582(c)(2) for a reduction in the term
of imprisonment imposed based on a guideline sentencing range that has subsequently been lowered and made retroactive
by the United States Sentencing Commission pursuant to 28 U.S.C. § 994(u), and the court having considered such
motion,
IT IS ORDERED that the motion is:

         [g] DENIED.             D GRANTED              and the defendant's previously imposed sentence of imprisonment (as reflected

                                 in the last judgment issued) of                  months is reduced to        months.
If the amount of time the defendant has already served exceeds this sentence, the sentence is reduced to a "Time Served"
sentence, subject to an additional period of up to ten (l0) days for administrative purposes of releasing the defendant.

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)

Previous Offense Level:                                                       Amended Offense Level:

Criminal History Category:                                                    Criminal History Category:

 Previous Guideline Range:                      to               months       Amended Guideline Range:                  to    months
                                   --­               --­                                                    --­
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE

D The reduced sentence is within the amended guideline range.
D The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time of
    sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the amended
    guideline range.


D Other (explain) :




                  Case 5:06-cr-00161-D                    Document 112             Filed 06/17/10           Page 1 of 2
DEFENDANT:    Antwan Ricardo Constant                                                                       Judgment - Page 2 of 2

CASE NUMBER: 5:06-CR-161-2D




III. ADDITIONAL COMMENTS

 The court has considered the entire record. The offense level resulted from application of the career offender guideline.
 Therefore, the defendant is not eligible for application ofthe retroactive crack cocaine guideline. See, U., United States v.
 Smith, No. 09-6541, 2010 WL 2000986 (4th Cir. May 20,2010) (per curiam) (unpublished); United States v. Munn, 595
 F.3d 183,187 (4th Cir. 2010).




Except as provided above, all provisions of the judgment dated October 23, 2007,           shall remain in effect.
IT IS SO ORDERED.

Order Date:          (,1,11(0

Effective Date:                                                James C. Dever III, U.S. District Judge
                  (if different from order date)                                   Printed name and title




                  Case 5:06-cr-00161-D             Document 112         Filed 06/17/10         Page 2 of 2
